                                               Entered on Docket
                                               April 01, 2024
                                               EDWARD J. EMMONS, CLERK
                                               U.S. BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA


 1                                             Signed and Filed: April 1, 2024

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                                             __________________________________________
 5                                           HANNAH L. BLUMENSTIEL
                                             U.S. Bankruptcy Judge
 6
 7                        UNITED STATES BANKRUPTCY COURT
 8                        NORTHERN DISTRICT OF CALIFORNIA
 9
     In re                           ) Bankruptcy Case
10                                   ) No. 23-30687 - HLB
     SHIFT TECHNOLOGIES, INC., ET AL )
11                                   ) Chapter 11
12                                   )
                    Debtor.          )
13                                   )
                                     )
14                                   )
15                                   )
                                           ORDER
16
           Good cause appearing, IT IS HEREBY ORDERED that:
17
           1.    A settlement conference regarding contested plan
18
     confirmation issues will be held before Bankruptcy Judge Dennis
19
     Montali (“settlement judge”) on a date to be determined by the
20
     settlement judge.
21
           2.    Debtor and its counsel and counsel for $150MM
22
     Convertible Debt, the $20M Senior debt, the Official Unsecured
23
     Creditors Committee, and other claimants holding unsecured
24
     claims as designated to participate by the settlement judge
25
     (collectively the “counterparties”), shall be present at times
26
     to be determined.       The settlement conference will not be
27
     postponed absent leave of the settlement judge.
28

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 1         3.    Pre-settlement conferences will be conducted via Zoom

 2   or telephone conference call.           The actual conference will be

 3   conducted via Zoom or in person.              For Zoom conferences, the

 4   court staff will provide a link or URL (internet address) that

 5   enables participation in the video conference.                For in person

 6   conferences, the settlement judge will advise the parties of the

 7   time and place.       No later than one week prior to either, all

 8   counsel must provide the court staff with the names, email

 9   addresses and cell phone numbers of all counsel, clients and

10   others who will participate in the settlement conference.

11         4.    Counsel for the Debtor and for the counterparties

12   should each prepare and email to the settlement judge and to

13   opposing counsel, but not file, a Settlement Conference

14   Statement no later than dates to be determined.                 The Debtor will

15   prepare and submit its statement first; the counterparties will

16   prepare and submit their respective statements in response ten

17   days later.

18         The briefs need to be efficient and not waste time with the

19   kind of redundant introductions typical of trial briefs or

20   motions.    The parties are not making a record; they will not

21   waive something by not mentioning it to the settlement judge.

22   In fact, the briefs should be more like outlines parties would

23   use internally at trial to make sure they cover all the

24   necessary bases to meet their burdens and rebut all of their

25   opponents’ relevant contentions.

26         Definitions and names should be set up to apply throughout

27   the document and redundancy should be avoided.                Do not leave

28   things open because a party needs more discovery.

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 1           Refer to docket numbers for documents the settlement judge

 2   should consider – do not provide them separately.                 If they are

 3   not on the docket, attach them to a list of documents to include

 4   electronically and email to the settlement judge.                 If hard

 5   copies are necessary because they are long or hard to read,

 6   parties will receive separate instructions from court staff for

 7   how to forward them to the settlement judge.

 8         5.     At the settlement conference, counsel should be

 9   prepared to present orally to the settlement judge a forthright

10   evaluation of the likelihood of prevailing on claims and

11   defenses.     Counsel who will participate in the trial of the

12   matter must be present at the settlement conference.                  The person

13   or persons having full authority to settle the matter shall also

14   appear at the settlement conference, subject only to whatever

15   final authority must be obtained by Debtor in its Chapter 11

16   case.

17         6.     The settlement conference will not conclude absent

18   leave of the settlement judge, who may continue the conference

19   from time to time at the judge's discretion.                The settlement

20   judge may issue any order deemed appropriate to facilitate

21   settlement or the expeditious resolution of the dispute.

22   Parties and their counsel should be prepared to remain beyond

23   normal business hours if necessary; alternative arrangements

24   should be made for routine personal and family commitments.                     The

25   settlement judge will not normally excuse parties or counsel

26   except in the case of emergency or extreme inconvenience.

27         7.     The parties must make a good faith attempt to settle

28   the matter before the settlement conference.

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 1         8.    Failure to comply with the terms and spirit of this

 2   order may lead to the imposition of sanctions under Bankruptcy

 3   Rule 7016 and Fed. R. Civ. P. 16(f).

 4                                  **END OF ORDER**

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